Case 4:05-cr-00003-JRH-CLR Document 129 Filed 05/20/10 Page 1 of 1


                                                                       F EU
                                                                    W•S•TCT COURT
                                                                    AV    _,%'l DIV.


                 UNITED STATES DISTRICT COURT                                   3:00

                 SOUTHERN DISTRICT OF GEORGIA cERK
                                                                    SO, LS[ OF GA.
                         SAVANNAH DIVISION


 NIYONU SPAULDING,
       Môvant,

 V                                           Case No. CV410-027
                                                       CR405-003
 UNITED STATES OF AMERICA,
      Respondent.

                                 ORDER
      After a careful de novo review of the record in this case, the Court

 concurs with the Magistrate Judge's Report and Recommenthtion; to which

 no objections have been filed. Accordingly, the Report and Recommendation

 of the Magistrate Judge is adopted as the opinion of the, Court.

       SO ORDERED this       L14y of                     22010.




                                      A ANT EDENF U)
                                    UNITED STATE DIST11CT JUDGE
                                    SOUTHERN D TRICT OF GEORGIA
